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                        UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

 NUVASIVE, INC.,

                       Plaintiff,

 v.                                                        Case No: 6:17-cv-2206-Orl-41GJK

 ABSOLUTE MEDICAL, LLC; GREG
 SOUFLERIS; DAVE HAWLEY;
 ABSOLUTE MEDICAL SYSTEMS,
 LLC; and RYAN MILLER;

                       Defendants.



                                            ORDER
        This cause came on for consideration without oral argument on the following motion:

        MOTION:        MOTION FOR DISCOVERY CONFERENCE (Doc. No.
                       144)

        FILED:         January 29, 2019



        THEREON it is ORDERED that the motion is GRANTED.

        On January 29, 2019, NuVasive, Inc., filed a Motion for Discovery Conference (the

 “Motion”). Doc. No. 144. NuVasive asks the Court to hold an in-person hearing “to address the

 progress of discovery in this action, various discovery issues, and the outstanding discovery

 motions filed by NuVasive.” Id. at 3. Defendants oppose the Motion. Id. at 4.

        Although there are currently no outstanding discovery motions, the parties have filed

 approximately ten motions regarding discovery in this case. The motions presented various

 conflicts related to temporal, subject matter, and geographical scope of the discovery requests;
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 confidentiality; financial information; and discovery from third parties. The variety of issues and

 the number of discovery motions leads to the conclusion that a discovery conference is warranted.

        Based on the forgoing, it is ORDERED as follows:

        1. The Motion (Doc. No. 144) is GRANTED;

        2. Lead counsel for all parties shall appear in person before the undersigned on

            TUESDAY, FEBRUARY 19, 2019, at 2:00 P.M. in Courtroom #3C, George C.

            Young Federal Annex Courthouse, 401 W. Central Boulevard, Orlando, Florida 32801;

            and

        3. Counsel shall be prepared to address issues regarding discovery in this case and its

            progress.

        DONE and ORDERED in Orlando, Florida, on February 1, 2019.




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




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